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           EXHIBIT 65
          Case 3:16-md-02741-VC Document 653-5 Filed 10/28/17 Page 2 of 2


A(detailed(assessment(of(glyphosate(use(and(the(risks(of(non,Hodgkin(lymphoma(overall(and(by(
major(histological(sub,types:(findings(from(the(North(American(Pooled(Project!!
!
MANISHA!PAHWA,!CANCER!CARE!ONTARIO,!CANADA!
                     2                3,4        2               2              2            5,6
BEANE!FREEMAN!L.! !,!SPINELLI!J.! !,!BLAIR!A.! !,!HOAR!ZAHM!S.! !,!CANTOR!K.! !,!PAHWA!P.! !,!
            5                   1,7,8                   9            1,7           1,7,10
DOSMAN!J.! !,!MCLAUGHLIN!J.! !,!WEISENBURGER!D.! !,!DEMERS!P.! !,!HARRIS!S.!              !!
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1
  )Occupational)Cancer)Research)Centre,)Cancer)Care)Ontario,)Toronto,)Canada)!
2
  )Division)of)Cancer)Epidemiology)and)Genetics,)U.S.)National)Cancer)Institute,)Bethesda,)U.S.A.)!
3
  )British)Columbia)Cancer)Agency)Research)Centre,)Vancouver,)Canada)!
4
  )School)of)Population)and)Public)Health,)University)of)British)Columbia,)Vancouver,)Canada)!
5
  )Canadian)Centre)for)Health)and)Safety)in)Agriculture,)University)of)Saskatchewan,)Saskatoon,)Canada)!
6
  )Department)of)Community)Health)and)Epidemiology,)University)of)Saskatchewan,)Saskatoon,)Canada)!
7
  )Dalla)Lana)School)of)Public)Health,)University)of)Toronto,)Toronto,)Canada)!
8
  )Public)Health)Ontario,)Toronto,)Canada)!
9
  )Department)of)Pathology,)City)of)Hope)Medical)Center,)Duarte,)U.S.A)!
10
   )Prevention)and)Cancer)Control,)Cancer)Care)Ontario,)Toronto,)Canada!!
!
Purpose:!Glyphosate!is!the!most!frequently!used!herbicide!worldwide.!The!International!Agency!for!
Research!on!Cancer!recently!classified!glyphosate!as!a!probable!carcinogen!for!non"Hodgkin!lymphoma!
(NHL),!but!the!epidemiological!studies!considered!were!limited!by!small!sample!sizes!and!a!lack!of!
exposure"response!data!for!NHL!sub"types.!We!evaluated!potential!associations!between!glyphosate!use!
and!NHL!risk!using!detailed!information!from!the!North!American!Pooled!Project!(NAPP).!
Methods:!Data!from!NHL!cases!(N=1690)!and!population"based!controls!(N=5131),!recruited!from!Canada!
and!the!Midwest!U.S.!during!the!1980s"1990s!for!4!different!studies,!were!recently!pooled!for!the!NAPP.!
Self"reported!glyphosate!use!information!was!used!to!assess!possible!associations!with!NHL!overall!and!by!
histological!sub"type!(follicular!lymphoma![FL],!diffuse!large!B"cell!lymphoma![DLBCL],!small!lymphocytic!
lymphoma![SLL],!and!other).!Odds!ratios!(OR)!and!95%!confidence!intervals!(CI)!were!estimated!with!
multiple!logistic!regression!models!adjusted!for!demographic!and!NHL!risk!factors.!
Results:!Unadjusted!for!other!pesticides,!subjects!who!ever!used!glyphosate!(N=133)!had!a!significantly!
elevated!NHL!risk!(OR=1.43,!95%!CI:!1.11,!1.83).!Glyphosate!use!for!>3.5!years!increased!SLL!risk!
(OR=1.98,!95%!CI:!0.89,!4.39).!Handling!glyphosate!for!>2!days/year!was!associated!with!significantly!
higher!odds!of!NHL!(OR=2.42,!95%!CI:!1.48,!3.96)!and!DLBCL!(OR=2.83,!95%!CI:!1.48,!5.41).!There!were!
suggestive!risk!increases!(p"value!≤0.02)!for!NHL,!FL,!and!SLL!with!greater!years*days/year!of!glyphosate!
use.!Except!for!SLL,!risks!attenuated!when!adjusted!for!other!pesticides.
Conclusions:!This!analysis!suggested!that!glyphosate!use!was!associated!with!increased!NHL!risk.!Risk!
differences!by!histological!sub"type!were!not!consistent!across!glyphosate!use!metrics!and!may!have!been!
chance!findings.!Nevertheless,!the!NAPP’s!large!sample!size!yielded!more!precise!results!than!previously!
possible.
Funding!source:!Canadian!Cancer!Society!Research!Institutec!U.S.!National!Institutes!of!Health!Intramural!
Research!Program,!National!Cancer!Institute.!!
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The(role(of(oral(hygiene(in(head(and(neck(cancer:(Results(from(International(Head(and(Neck(Cancer(
Epidemiology((INHANCE)(Consortium((
!
DANA!HASHIM,!ICAHN!SCHOOL!OF!MEDICINE!AT!MOUNT!SINAI,!UNITED!STATES!
                1                 2              3                        3            4               4
SARTORI!S.! !,!BRENNAN!P.! !,!CURADO!M.! !,!WÜNSCH"FILHO!V.! !,!OLSHAN!A.! !,!ZEVALLOS!J.! !,!
            5                    2                       6                  7            8              9
WINN!D.! !,!FRANCESCHI!S.! !,!CASTELLSAGUÉ!X.! !,!LISSOWSKA!J.! !,!RUDNAI!P.! !,!MATSUO!K.! !,!
                        10                1
MORGENSTERN!H.! !,!BOFFETTA!P.! !!
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1
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Medicine)at)Mount)Sinai,)New)York,)NY)USA)!
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  )EpidemiologyL)CIPE/ACCAMARGO)and)Faculdade)de)Saúde)Pública,)Universidade)de)São)Paulo,)Sao)
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Epidemiología)y)Salud)Pública)(CIBERESP),)Spain)!
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  )The)M.)SkasodowskaLCurie)Memorial)Cancer)Center)and)Institute)of)Oncology,)Dept.)of)Cancer)
Epidemiology)and)Prevention,)Warsaw,)Poland)!

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